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 1                                                                   The Honorable James L. Robart
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 7
                                      UNITED STATES DISTRICT COURT
 8                                   WESTERN DISTRICT OF WASHINGTON
                                               AT SEATTLE
 9
     UNITED STATES OF AMERICA,
10
                        Plaintiff,                       CR 04-549 JLR
11
                        v.
12                                                       ORDER CONTINUING TRIAL DATE
     LONG VAN NGUYEN, et al.                             AND PRETRIAL MOTIONS DEADLINE
13   MAJOR SINGH DHANOA, and
     RASHPAL SINGH SANDHU.
14

15                      Defendants.
16
                                                O R D E R
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              THIS MATTER COMES before the Court on the Defendants’ Unopposed Motion for
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     Continuance of Trial Date.          The Court has considered the Motion, the Government’s
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     Response to the Motion, and all of the files and records herein.
20
              THE COURT FINDS AS FOLLOWS:
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              1.        This is a criminal case charging the defendants with participation in complex
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     conspiracies to import marijuana, to distribute marijuana, and to launder money.                    The
23
     defendants have moved for a continuance of the trial date because they require additional time
24
     to prepare for trial. The Government does not oppose this motion. Based on the facts set
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     forth in the Defendants’ Motion, as well as those set forth in the Government’s Response, the
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     Court makes the Findings and Order set forth below.


     ORDER CONTINUING TRIAL                                                            Skellenger Bender, PS
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 1            2.        This case is sufficiently factually and legally complex that it is unreasonable to
 2   expect adequate preparation for pretrial proceedings or for the trial itself within the current
 3   time limits, within the meaning of 18 U.S.C. § 3161 (h)(8)(B)(ii).
 4            3.        The failure to grant a continuance in this case will likely deny the defendants
 5   the reasonable time necessary for effective preparation for trial and other pretrial proceedings,
 6   taking into account the exercise of due diligence. See 18 U.S.C. § 3161 (h)(8)(B)(iv).
 7            4.        The failure to grant such a continuance in this proceeding will likely result in a
 8   miscarriage of justice within the meaning of 18 U.S.C. § 3161 (h)(B)(i).
 9            5.        The ends of justice served by granting this continuance outweigh the interests
10   of the public and the defendants in any speedier trial, within the meaning of 18 U.S.C. § 3161
11   (h)(8)(A).
12            THE COURT THEREFORE ORDERS THAT:
13            1.        The motion to continue the trial date is granted.
14            2.        The trial shall be continued from December 6, 2005 to March 28, 2006.
15            2.        The Court further orders that all pretrial motions shall be filed on or before
16   February 14, 2006.
17            3.        The period of time from the current trial date until the new trial date
18   encompassed by this continuance shall be excluded from the computation of time under the
19   Speedy Trial Act, 18 U.S.C. § 3161 et seq.
20            4.        Each defendant shall promptly file a speedy trial waiver encompassing the
21   excluded time period.
22            DATED this 31st day of October, 2005.
23

24                                                    s/James L. Robart
25
                                                      THE HONORABLE JAMES L. ROBART
26                                                    United States District Judge


     ORDER CONTINUING TRIAL                                                               Skellenger Bender, PS
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